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                    EXHIBIT 67
            Case: 1:17-md-02804-DAP Doc #: 2251-67 Filed: 08/13/19 2 of 4. PageID #: 351537
 From:                         Jinping McCormick
 To:                           David Myers
 Sent:                         9/2/2011 12:43: 19 PM
 Subject:                      FW: Revised marketing plan
 Attachments:                  MARKETING PLAN FOR ACTAV1S(3).doc



This is the plan we are going with. I sent John our email blast to Pharmacists, emailable ad (27 page long) and some
background information.



From: Hansen, John [mailto:John.Hansen@McKesson.com]
Sent: Thursday, September 01, 2011 2:41 PM
To: Ara Aprahamian RPh; Jinping McCormick; Lisa Pehlke
Cc: Winter, Wendy; Sambrano, Aubrey
Subject: Revised marketing plan


«MARKETING PLAN FOR ACTAV1S(3).doc>>

Ara, Jinping, and Lisa -

Attached is a revised marketing plan for oxymorphone ER that recommends a bundled promotion
consisting of the following:

              GC phone campaign to -200 customers

              Fax blast to -200 customers

              McK Connect ad for one week

The total cost for the bundle is $8,500.

We'll go over this in more detail on our call today.

John Hansen

Marketing· Mcl<esson Pharmaceutical

Tel: (415) 983-7543




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                                MARKETL'l"G PLAN (Revised) FOR ACTA VIS US
                                              September 201 I

           I.        EXECUTIVE SUMMARY

          Primary goal is to move market share of Actavis' oxymorphone hydrochloride ER tablets
          within McKesson Pharmaceutical's OueStop customer base.


                    NDC#                           Product Name                              Size
                0228-3261-1 I     Oxymorphone HCJ Extended-Release Tablet, CH 7.5mg           100
                0228-3262-) l     Oxymorphone HCl Extended-Release Tablet, CII 15mg           100



          Awareness of the availability of this new generic can be achieved through direct
          promotion to McKesson customers. We recommend the following opportunities as a
          multi-tiered approach.

          II.        L'l"TERNAL ADVERTISING AND PROMOTION TO McKESSON
                     CUSTOMERS

          ONLINE

          Weekly advertising campaigns on McKesson Connect, our exclusive online ordering and
          information portal that provides more than 30,000 unique daily log-ins with content and
          promotions to encourage sales. Ads can feature links to your site or sales materials, in
          addition to your products in McKesson's product ordering system.

                 •   Recommendation - ad running the third week of September


          FAX BLAST

          Fax blasts provide fast access to a targeted audience of -200 retail independent
          pharmacies with significant brand sales of this item. Awareness of your product's
          availability through a one-page fax is an effective way to generate additional sales.

                 •   Recommendation - one fax blast in mid September


           PHONE AWARENESS CAMPAIGNS

           McKesson's team of dedicated generics specialists, GenericsConnect, can help customers
           understand your product's value and create additional promotional opportunities. Each
           specialist has a regular series of ongoing conversations with the same customer base, and




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          promotional awareness of your product line can be incorporated into their outbound
          messaging.

               •   Recommendation - one phone awareness campaign to a targeted pool of -200
                   retail independent pharmacies with significant brand sales, in September


          TOTAL COST FOR BUNDLED PROMOTIO~: $8,500 (all-inclusive)


          l\1ARKETL~G           REACH                          BENEFITS
          OPPORTUNITY

          McKesson              30,000+ McKesson pharmacy      Wide reach of
          Connect banner ad     customers                      message on
                                                               customer's
                                                               homepage for one
                                                               week
          Fax blast             Fax sheet sent to -200         Delivery of
                                McKesson pharmacy              marketing message
                                customers                      directly to the
                                                               pharmacy
          Phone Awareness       Awareness or promotional       Messaging
          Campaigns             campaign by phone to -200      personally
                                customers                      delivered by
                                                               generics specialist
                                                               to pharmacy
                                                               decision maker




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